
673 S.E.2d 359 (2009)
Billy MEARES, Employee
v.
DANA CORPORATION, Employer, and
Self-Insured Specialty Risk Services, Third-Party Administrator.
No. 502P08.
Supreme Court of North Carolina.
February 5, 2009.
Paul C. Lawrence, Margaret M. Kingston, Charlotte, for Dana Corporation, et al.
Vernon Sumwalt, Mark T. Sumwalt, Charlotte, for Meares.
Prior report: ___ N.C.App. ___, 666 S.E.2d 819.

ORDER
Upon consideration of the petition filed by Defendants on the 12th day of November 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
Upon consideration of the petition filed on the 12th day of November 2008 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
